Case 2:18-cv-00616-CAS-FFM Document 14 Filed 03/05/18 Page 1 of 5 Page ID #:42




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 4

 5 Attorney for Plaintiffs

 6
     [Additional Counsel on Signature Page]
 7
                        UNITED STATES DISTRICT COURT
 8
                       CENTRAL DISTRICT OF CALIFORNIA
 9

10
   SYLVAIN HAMEL, Derivatively on )           CASE NO.: 2:18-cv-00616 CAS
   Behalf of Nominal Defendant THE )
11 CRYPTO COMPANY,                 )          (FFMx)
12
                                   )
            Plaintiff,             )
13                                 )          NOTICE OF VOLUNTARY
   MICHAEL ALCIDE POUTRE III, )               DISMISSAL
14
   JAMES GILBERT, AND ANTHONY )
15 STRICKLAND,                     )
16                                 )
                                   )
17             v.                  )
18                                 )
                                   )
19         Defendants,             )
20                                 )
   THE CRYPTO COMPANY, a           )
21 Nevada Corporation,             )
22                                 )
           Nominal Defendant.      )
23                                 )
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Case 2:18-cv-00616-CAS-FFM Document 14 Filed 03/05/18 Page 2 of 5 Page ID #:43




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 2       NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
 3                 PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

 4

 5
          Pursuant to F.R.C.P. 41(a)(1) and 23.1(c) of the Federal Rules of Civil
 6

 7 Procedure, Plaintiff Sylvain Hamal hereby gives notice that the above-captioned

 8 action is voluntarily dismissed without prejudice against Defendants.

 9
          Voluntary dismissal is appropriate under Fed. R. Civ. P. 41(a)(1) given that
10

11 Defendants have not appeared in this action, answered the Complaint, or filed a

12 motion for summary judgment.

13
          Notice of this voluntary dismissal is not required under Fed. R. Civ. P. 23.1(c)
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15 because neither Plaintiff nor Plaintiff’s counsel have received or will receive any

16 compensation for this dismissal.

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                                                                      Case No.: 2:18-cv-00616
                                                          NOTICE OF VOLUNTARY DISMISSAL
Case 2:18-cv-00616-CAS-FFM Document 14 Filed 03/05/18 Page 3 of 5 Page ID #:44




 1 Dated: March 5, 2018                Respectfully submitted,
 2
                                       THE WAGNER FIRM
 3

 4                                     By: s/ Avi Wagner
                                       Avi Wagner (SBN 226688)
 5                                     1925 Century Park East, Suite 2100
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                                       Telephone: (310) 201-9150
 7

 8                                     Local Counsel for Plaintiff

 9                                     GAINEY McKENNA & EGLESTON
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                                       440 Park Avenue South, 5th Floor
11                                     New York, NY 10016
12                                     Telephone: (212) 983-1300
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14                                     Counsel for Plaintiff
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                                                                   Case No.: 2:18-cv-00616
                                                       NOTICE OF VOLUNTARY DISMISSAL
Case 2:18-cv-00616-CAS-FFM Document 14 Filed 03/05/18 Page 4 of 5 Page ID #:45




   1               PROOF OF SERVICE BY ELECTRONIC POSTING
   2        I, the undersigned say:
   3        I am not a party to the above case, and am over eighteen years old. On March 5,
   4 2018, I served true and correct copies of the foregoing document, by posting the

   5 document electronically to the ECF website of the United States District Court for the

   6 Central District of California, for receipt electronically by the parties listed on the

   7 Court’s Service List.

   8        I affirm under penalty of perjury under the laws of the United States of America
   9 that the foregoing is true and correct. Executed on March 5, 2018, at Los Angeles,

  10 California.

  11

  12                                               s/ Avi Wagner
  13
                                                   Avi Wagner

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CM/ECF - California Central District-                             https://ecf.cacd.uscourts.gov/cgi-bin/MailList.pl?662066363840684-L_1_0-1
               Case 2:18-cv-00616-CAS-FFM Document 14 Filed 03/05/18 Page 5 of 5 Page ID #:46




         Electronic Mail Notice List

         The following are those who are currently on the list to receive e-mail notices for this case.

               Avi N Wagner
               avi@thewagnerfirm.com,anwagneresq@hotmail.com

         Manual Notice List

         The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who
         therefore require manual noticing). You may wish to use your mouse to select and copy this list into your word
         processing program in order to create notices or labels for these recipients.

          (No manual recipients)




1 of 2                                                                                                                 3/5/2018, 10:16 AM
